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 1                                                  AFFIDAVIT OF SERVICE

 2
                                   UNITED STATES DISTRICT COURT DISTRICT OF NEVADA
                                            CLARK COUNTY, STATE OF NEVADA
 3

 4 GREENLIGHT ADVANTAGE GROUP, INC.,                                          Case No.:2:19-cv-02019-RFB-EJY
                                                                              Valerie Del Grosso, Esq., Bar No.011103
                         Plaintiff(s)                                         ORIGINS LEGAL GROUP, LLC
 5
                    v.                                                        6787 W. Tropicana Ave., Suite 120A
                                                                              Las Vegas, NV 89103
 6
     KANEPTEC ENTERPRISES, INC.; et al.,                                      (702) 850-7799
                                                                              Attorneys for the Plaintiff(s)
 7
                         Defendant(s)
                                                                              Client File# Kanaptec
 8
   I, Daniel LaMotte, being sworn, states: That I am a licensed process server registered in Nevada. I received a copy
 9 of the Summons In A Civil Action; Verified Complaint and Jury Demand, from ORIGINS LEGAL GROUP, LLC
   That on 3/30/2020 at 1:20 PM I served the above listed documents to Kaneptec Holdings (Nevada) LLC - c/o CT
10 Corporation System, Registered Agent by personally delivering and leaving a copy at 701 S. Carson Street, Suite 200,
   Carson City, NV 89701 with Ashlei Klein-Flynn - Front Desk, a person of suitable age and discretion, authorized by
11 Registered Agent to accept service of process at the above address shown on the current certificate of designation filed
   with the Secretary of State.
12
   That the description of the person actually served is as follows:
13 Gender: Female, Race: Caucasian, Age: 31 -35 yrs., Height: Seated, Weight: 141 - 160 lbs., Hair: Blonde, Eyes:Brown

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19 I being duly sworn, states: that all times herein, Affiant was and is over 18 years of age, not a party to or interested in
   the proceedings in which this Affidavit is made. I declare under penalty of perjury that the foregoing is true and correct.
20
     Date: 3/31/2020
21

22                                                                                (No Notary Per NRS 53.045)
                                                                                  Service Provided for:
23 Daniel LaMotte                                                                 Nationwide Legal Nevada, LLC
   Registered Work Card# R-2020-01425
                                                                                  626 S. 7th Street
24 State of Nevada                                                                Las Vegas, NV 89101
                                                                                  (702) 385-5444
25                                                                                Nevada Lic # 1656

26

27

28


      Control #:NV224927
      Reference: Kanaptec
